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   14                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15                                WESTERN DIVISION
                                                  Case No. 2:21-cv-04405-RGK-MAR
   16   PAUL SNITKO, JENNIFER
        SNITKO, JOSEPH RUIZ, TYLER                DECLARATION OF JOSEPH RUIZ
   17   GOTHIER, JENI VERDON-                     IN SUPPORT OF PLAINTIFFS’
        PEARSONS, MICHAEL STORC,                  MOTION FOR CLASS
   18   and TRAVIS MAY,                           CERTIFICATION AND
                                                  MEMORANDUM IN SUPPORT
   19                                 Plaintiffs, (Filed Concurrently with Plaintiffs’
                     v.                           Notice of Motion for Class Certification;
   20
                                                  Memorandum in Support; Declarations
   21   UNITED STATES OF AMERICA,                 in Support of Plaintiffs’ Motion for
        TRACY L. WILKISON, in her                 Class Certification; and Proposed
   22   official capacity as Acting United        Order Granting Plaintiffs’ Motion)
        States Attorney for the Central
   23   District of California, and KRISTI
        KOONS JOHNSON, in her official
   24   capacity as an Assistant Director of
        the Federal Bureau of Investigation,      Date: September 27, 2021
   25
                                    Defendants. Time:    9:00 A.M.
                                                  Courtroom: 850
   26
                                                  Judge: Hon. R. Gary Klausner
   27                                             Trial Date: TBD
                                                  Complaint Filed: May 27, 2021
   28                                             Amended Complaint Filed: June 9, 2021

                                    DECLARATION OF JOSEPH RUIZ
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    1         I, Joseph Ruiz, declare and state as follows:
    2         1.      I have knowledge of the facts set forth herein, and if called upon to
    3   testify as a witness thereto, I could and would competently do so under oath.
    4         2.      I am a citizen of the United States and a resident of Los Angeles,
    5   California.
    6         3.      I am a customer of U.S. Private Vaults, Inc. (“USPV”). When the
    7   government raided the U.S. Private Vaults facility, on March 22, 2021, I was
    8   holding my property in a security deposit box at the USPV facility in Beverly Hills.
    9         4.      My property was held in Box 7622. I hold the key to that box and
   10   would be able to produce that key upon request.
   11         5.      As of March 22, 2021, my security deposit box at USPV contained
   12   approximately $57,000.
   13         6.      I chose to keep my property at USPV because, after finding the
   14   company through a Google search, I realized that its location was convenient for
   15   me.
   16         7.      I learned of the government’s seizure of the USPV security deposit
   17   boxes on March 22, 2021, when I drove to the USPV facility and saw the seizure in
   18   progress. The FBI instructed me to submit a claim form asking for my personal
   19   information so that I could be reunited with my property.
   20         8.      I submitted a claim form to the FBI on or about April 8, 2021, through
   21   the FBI’s website at https://forms.fbi.gov/u-s-private-vaults-claim-form. In
   22   response, I received a form email that told me not to contact the FBI Field Office
   23   and that did not say when my property would be returned.
   24         9.      I desperately needed my money returned to me. I was and am
   25   unemployed, and I had been living off the funds in my USPV box prior to the
   26   seizure. The loss of access to my money meant I did not have money that I needed
   27   to pay for food and medical care.
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                                      DECLARATION OF JOSEPH RUIZ
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    1         10.    On May 27, 2021, I, along with other Plaintiffs, filed this class action
    2   lawsuit. At that point, it had been over two months since the FBI seized my
    3   property, and they had neither explained to me when they would return it or why
    4   they were continuing to hold it. We brought this lawsuit to require the government
    5   to behave in a constitutional manner towards both us and all other USPV box
    6   holders.
    7         11.    On August 3, 2021, the government offered to return my property. The
    8   government wired funds corresponding to the seized cash into my attorneys’ trust
    9   account as of August 20, 2021.
   10         12.    It was my understanding that the government was only supposed to
   11   look inside each USPV box so that it could figure out how to return it to its owner.
   12   But that is not what happened to me. Instead, the government treated me like a
   13   criminal. I have now learned that the government did not return my property for
   14   almost five months because it was investigating me and because I had not proven to
   15   the government that I legally obtained the property in my USPV box.
   16         13.    Based on what I have learned about the FBI’s investigation of me, I
   17   am concerned that the government has intruded into my personal and financial
   18   affairs, including at least pulling information about me from employment databases,
   19   insurance claims records, and currency transaction reports. I want the FBI to
   20   destroy all physical and digital records that it created pursuant to its investigation of
   21   me and of my USPV box, along with an attestation under oath to that effect.
   22         14.    The government’s actions towards me and other USPV box holders
   23   have been deplorable. Even though I have my property back, I remain committed to
   24   bringing the government to account by vigorously representing the class in this
   25   action. I have no conflicts-of-interest with any other class members. My sole goal is
   26   to help the class secure a declaration and injunction requiring the government to
   27   behave constitutionally with respect to them and their property.
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                                      DECLARATION OF JOSEPH RUIZ
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    1         I declare under penalty of perjury under the laws of the United States that the
    2   foregoing is true and erect.
    3         E ecuted this d       day of August, 2021.
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                                    DECLARATION OF JOSEPH RUIZ
